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 1 BIRD, MARELLA, BOXER,
   WOLPERT, NESSIM, DROOKS
 2 LINCENBERG & RHOW P.C.
   Gary S. Lincenberg, SBN 123058
 3 Nicole R. Van Dyk, SBN 261646
   Darren L. Patrick, SBN 310727
 4 Alexis A. Wiseley, SBN 330100
   1875 Century Park East, Floor 23
 5 Los Angeles, CA 90067
   Telephone: (310) 201-2100
 6 Email: glincenberg@birdmarella.com
          nvandyk@birdmarella.com
 7        dpatrick@birdmarella.com
          awiseley@birdmarella.com
 8
   Attorneys for Petr Pacas
 9
10                            THE UNITED STATES DISTRICT COURT
11                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,                           Case No. 18-CR-4683-GPC
13                                                       Honorable Gonzalo P. Curiel
14               Plaintiff,
                                                         UNOPPOSED MOTION FOR
15 v.                                                    ORDER APPROVING MR.
                                                         PACAS’S TRAVEL REQUEST
16
   JACOB BYCHAK, et al.,
17                                                       Filed concurrently with the Declaration
                                                         of Alexis A. Wiseley
18    Defendants.
19
20
21
22
23               Petr Pacas, by and through his counsel of record, hereby submits this
24 Unopposed Motion for an order modifying Mr. Pacas’s bond conditions to permit
25 him to take a cruise, departing from Long Beach, California, and stopping in
26 Ensenada, Mexico, between October 7th and October 10th, 2022, so long as Mr.
27 Pacas provides his Pretrial Services Officer with a copy of his travel itinerary and
28 calls Pretrial Services both prior to his departure and upon his return. The basis for
     3813216.1                                                           Case No. 18-CR-4683-GPC
                   PETR PACAS'S UNOPPOSED MOTION FOR ORDER APPROVING TRAVEL REQUEST
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 1 this unopposed motion is as follows:
 2               1.       On October 31, 2018, Mr. Pacas and co-defendants Jacob Bychak,
 3 Mark Manoogian, and Mohammed Abdul Qayyum were charged in a 10-count
 4 indictment for conspiracy to commit violations of the wire fraud statute (18 U.S.C. §
 5 1343) and the CAN-SPAM Act (18 U.S.C. § 1037(a)(5)). (Dkt. 1.)
 6               2.       On November 5, 2018, Mr. Pacas was arraigned and released on a
 7 $50,000 appearance bond secured by his signature. As a condition of his release, his
 8 travel was restricted to San Diego County, the Central District of California, and the
 9 state of Utah at the discretion of his Pretrial Services Officer. (Dkt. 26.) A true and
10 correct copy of the November 5, 2018 Pretrial Release Order is attached as Exhibit
11 A. 1
12               3.       This Court previously approved Mr. Pacas’s request to travel to the
13 Czech Republic and Austria from December 20, 2018 through January 3, 2019.
14 (Dkt. 43.) Mr. Pacas departed and returned on the approved dates as instructed
15 without incident.
16               4.       This Court previously approved Mr. Pacas’s request to travel to Hawaii
17 from September 24, 2019 through October 2, 2019. (Dkt. 124.) Mr. Pacas departed
18 and returned on the approved dates as instructed without incident.
19               5.       This Court previously approved Mr. Pacas’s request to travel to the
20 Czech Republic in June of 2020. (Dkt. 156.) Mr. Pacas was ultimately unable to
21 travel in June of 2020 due to the Covid-19 pandemic.
22               6.       This Court previously approved Mr. Pacas’s request to travel to the
23 Czech Republic in June of 2021, with a return date on or before July 15, 2021.
24 (Dkt. 238.) Mr. Pacas departed and returned on the approved dates as instructed
25 without incident.
26
27   1
      Referenced exhibits are to the Declaration of Alexis Wiseley, filed concurrently
28 herewith (the “Wiseley Declaration”).
     3813216.1
                                                      2                     Case No. 18-CR-4683-GPC
                      PETR PACAS'S UNOPPOSED MOTION FOR ORDER APPROVING TRAVEL REQUEST
Case 3:18-cr-04683-GPC Document 512 Filed 09/27/22 PageID.7519 Page 3 of 4




 1               7.       This Court previously approved Mr. Pacas’s request to travel to the
 2 Czech Republic in December of 2021, with a return date on or before January 15,
 3 2022. (Dkt. 308.) Mr. Pacas departed and returned on the approved dates as
 4 instructed without incident.
 5               8.       This Court previously approved Mr. Pacas’s request to travel to
 6 countries within the European Union between July 21, 2022 and August 12, 2022.
 7 (Dkt. 487.) Mr. Pacas departed and returned on the approved dates as instructed
 8 without incident.
 9               9.       On May 23, 2022, the trial in this case began and, on June 10, 2022, the
10 Court declared a mistrial. (Dkts. 443, 485.)
11               10.      On June 10, 2022, the Court approved the Deferred Prosecution
12 Agreement entered into between the government and Mr. Pacas. (Dkt. 477.)
13 Pursuant to that agreement, the United States has agreed to dismiss the charges in
14 the Indictment as to Mr. Pacas at the end of the deferral period. (Id. ¶ A.) However,
15 Mr. Pacas remains subject to supervision by United States Pretrial Services during
16 the deferral period. (Id. ¶ C.2.)
17               11.      Mr. Pacas’s Deferred Prosecution Hearing is set for June 12, 2023 at
18 10:30 AM in Courtroom 2D. Mr. Pacas is required to appear in person unless the
19 government moves to dismiss prior to the hearing. (Dkt. 476.)
20               12.      On September 20, 2022, Mr. Pacas’s counsel conferred by email with
21 Mr. Pacas’s Pretrial Services Officer, Eva Arevalo, regarding Mr. Pacas’s travel
22 request. Ms. Arevalo stated that she has no objection to Mr. Pacas’s request.
23 (Wiseley Decl. ¶ 2.) A true and correct copy of the September 20, 2022
24 correspondence with Ms. Arevalo is attached as Exhibit B.
25               13.      On September 21 and 26, 2022, Mr. Pacas’s counsel conferred by email
26 with Assistant United States Attorneys Sabrina Fève and Melanie Pierson, and
27 Computer Crime and Intellectual Property Section Senior Counsel for the United
28 States Department of Justice Candy Heath, to confirm that they had no objection to
     3813216.1
                                                      3                     Case No. 18-CR-4683-GPC
                      PETR PACAS'S UNOPPOSED MOTION FOR ORDER APPROVING TRAVEL REQUEST
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 1 Mr. Pacas’s travel request. Assistant United States Attorney Fève confirmed that
 2 the government has no objection. (Wiseley Decl. ¶ 3.) A true and correct copy of
 3 the September 21 and 26, 2022 email correspondence is attached as Exhibit C.
 4                                              Respectfully submitted,
 5    Dated: September 27, 2022               BIRD, MARELLA, BOXER, WOLPERT,
                                              NESSIM, DROOKS, LINCENBERG &
 6                                            RHOW, P.C.
 7                                            By: s/ Alexis A. Wiseley
                                                  Gary S. Lincenberg
 8                                                Nicole Rodriguez Van Dyk
                                                  Darren L. Patrick
 9                                                Alexis A. Wiseley
                                                  Attorneys for Petr Pacas
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     3813216.1
                                                 4                     Case No. 18-CR-4683-GPC
                 PETR PACAS'S UNOPPOSED MOTION FOR ORDER APPROVING TRAVEL REQUEST
